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IN THE UNITED STATES I)ISTRICT COURT /
/ 7 FOR THE DIsTRlCT 0F MARYLAND

 

UNITED STATES OF AMERICA UNDER SEAL

v. CriminalNo. (; f |:é }_~/7"0¢>03\,

(Conspiracy to Distribute and Possess With

; ERIC TROY SNELL, Intent to Distribute Heroin and Cocaine, 21

1 U.s.C. § 841; Aiding and Abeaing, is U.s.C.
Defendant. ' § 2)

 

 

 

 

 

INI)ICTMENT

M
(Conspiracy to Distribute and Possess with Intent to Distribute Heroin and Cocaine)

The Grand Jury for the Distlict of Maryland charges that at all times relevant to this
Indictment:

l. Jemell Rayam Was a Detective in the Baltimore Police Department (“BPD”) and
Was assigned to the Gun Trace Task Force (“GTTF”) within the Operational lnvestigation
Division of the BPD.

v 2. Wayne Jenlcins was a Sergeant in the BPD and Was the officer in charge of the
GTTF.

3. Defendant ERIC TROY SNELL and Rayam received training together at the BPD
academy and became associates Defendant SNELL Was a police officer in the BPD until about
March 8, 2008. Defendant SNELL became an officer in the Philade]phia Police Department on
or about September 29, 2014 and was assigned to the 35th District in Philadelphia at the time of

this lndictrnent.

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4. From no later than October 2016, and continuing until at least June 26, 2017, in

the DiStrict of Maryland and elsewhereJ
ERIC TROY SNELL

the defendant herein, did knowingly and willfully combine, conspire, confederate and agree with
persons known and unknown to the Grand Jury, including, but not limited to Jemell Rayam, to
knowingly, intentionally and unlawfully distribute and possess with the intent to distribute a
mixture or substance containing a detectable amount of heroin, a Schedule l controlled
substance, and a quantity of a mixture or substance containing a detectable amount of cocaine, a

Schedule II controlled substance, in violation of Title 21, United States Code Section 84l(a)(l ).

 

 

OBJECT OF THE CONSPIRACY
5. The object of the charged defendant and his co-conspirators was to obtain and sell
heroin and cocaine.
MANNER AND MEANS
6. lt was part of the conspiracy that Defendant SNELL, and co-conspirator Rayarn

and others known and unknown to the grand jury, discussed and planned with each other the sale
of illegal narcotics that had been obtained or seized by members of the BPD in Maryland. lt was
further part of the conspiracy that Defendant SNELL and others known and unknown to the
grand jury, including Rayam, formulated a plan and agreement which, among other things,
included:

a. the acquisition of United States Currency by selling narcotics, including heroin

and cocaine;

 

 

 

 

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b. the repayment of drug debts owed to co-conspirators by depositing cash into co-
conspirator bank accounts;

c. the method and means of transportation of narcotics across multiple states, and
the decision to meet at a highway rest stop to conduct a narcotics transaction;

d. the use of cellular phones and the use of coded language to discuss narcotics
trafficking;

e. the role each participant would play in the drug conspiracy;

f. the recruitment of sources, including family members of the Defendant, to sell the
drugs;

g. deterring co-conspirators from cooperating with authorities by threatening to
harm their children; and

h. plans to avoid detection and apprehension by legitimate law enforcement.

OVERT ACTS lN FURTHERANCE OF THE CONSPIRACY

7. On or about October 3, 2016, Jenkins, Rayam and detectives in the BPD, acting in
their capacity as police officers, engaged in a high-speed police chase of a vehicle driven by
G.H. G.H. fled and threw over 9 ounces of cocaine out of the window of his vehicle before
crashing his vehicle near Mondawmin Mall in Baltirnore, Maryland.

8. Near the scene of the crash, BPD officers retrieved the cocaine and Jenkins told
Rayam to sell most of the cocaine and give Jenkins proceeds of the sale, which Rayam agreed to
do.

9. On or about October 18, 2016, after leaming from Rayam that Rayam had
cocaine, Defendant SNELL asked Rayam to provide him with the cocaine that was stolen from

G.H. and not submitted as evidence to the BPD. Rayam agreed to do So.

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lO. On or about October 20, 201 6, Rayam traveled to Philadelphia, PA, and met
Defendant SNELL at his residence Rayam provided cocaine to Defendant SNELL and
Defendant SNELL made arrangements to meet with Defendant Snell’s brother who would sell
the cocaine for Defendant SNELL and Rayam.

ll. On or about October 20, 2016, Rayam, Defendant SNELL, and Defendant Snell’s
brother met and discussed the sale of the cocaine, the price the cocaine should be sold for, the
amount of money that Defendant Snell’s brother would pay Defendant SNELL after the sale of
the cocaine, and the amount of money that Defendant SNELL would pay Rayam after the sale of
the cocaine Defendant SNELL gave his brother the cocaine that Rayam had given him and that
had been taken from G.H.

12. On or about October 23, 2016, Defendant SNELL and Rayam agreed that Rayam
would provide Defendant SNELL with heroin for Defendant SNELL_ to sell and distribute

13. On or about October 24, 2016, Rayam traveled to Philadelphia and provided
Defendant SNELL with approximately 80 grams of heroin that Rayam had received from
Jenkins to sell.

l4. On or about October 27, 2016, Defendant SNELL communicated to Rayam that
he had received “2k” ($2,000) from the sale of illegal drugs

15. On or about October 28, 2016, Defendant SNELL agreed to deposit proceeds
from the sale of illegal drugs in Rayam’s PNC bank account

16. On or about October 28, 2016, Defendant SNELL deposited 31,000 cash into

Rayam’s bank account at a PNC branch in Philadelphia.

 

 

 

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l'i'. On or about October 28, 2016, and November 6, 2016, Defendant SNELL and
Rayam discussed the repayment of the illegal drug debt and the demands made by Jenkins for
timing of the repayment of the drug debt owed to Jenkins.

18. On or about November 7, 2016, Defendant SNELL sent a text message to Rayam
agreeing to pay Rayam an additional “25”, (or 32,500) for additional sales of the illegal drugs.

19. On or about November 8, 2016, Defendant SNELL met his brother and received
cash from the sales of illegal drugs he had received from Rayam.

20. On or about November 9, 2016, Defendant SNELL deposited $2,500 in proceeds
from the sales of illegal drugs into Rayam’s PNC bank accountl

21. Between October 24, 2016 and November 15, 2016, Defendant SNELL
distributed, or caused to be distributed, some of the heroin provided by Rayam.

22. On or about November ll, 2016, Defendant SNELL pulled out a large wad of
several thousand dollars in cash and paid Rayam several hundred dollars from the sale of illegal
drugs.

23. On or about November 15, 2016, Defendant SNELL agreed with Rayam to meet
at or near the Delaware House Travel Plaza so that Defendant SNELL could return the remaining
heroin to Rayam for Rayam to distribute

24. On or about November 15, 2016, Defendant SNELL traveled on 1-95 to the
Delaware House Travel Plaza, provided approximately 40 grams of heroin to Rayam, and then

returned to Philadelphia. Rayam distributed the heroin provided by Defendant SNELL using

other associates of his.

 

 

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25 . Following Rayam’s arrest, on June 26, 2017 Defendant SNELL spoke with
Rayam on the recorded jail phone system where Rayam was detained Rayam asked: “Your
brother never said anything . . , everything cool yo?” and Defendant SNELL assured Rayam that
his brother had not said anything about their illegal drug trafficking Defendant SNELL
instructed Rayam to “say less” on the recorded jail phones so that their illegal drug trafficking
operation would not be detected by law enforcement Defendant SNELL told Rayam to “stand
tall” and said he would “keep an eye” on Rayam’s kids, which Rayam perceived as a threat to
harm Rayam’s children if Rayam told authorities about Defendant SNELL’s illegal drug
trafficking
21 U.S.C. § 846.

is U.s.C. § 2. am
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ACTING UNITED STATES ATTORNEY

 

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Date Foreperson

 

